 Case 2:11-cr-00223-JAD-CWH           Document 100        Filed 07/30/12     Page 1 of 3



 1   MICHAEL P. KIMBRELL, ESQ.
     Nevada State Bar # 07776
 2   MICHAEL P. KIMBRELL, LTD
     3470 EAST RUSSELL ROAD, Ste. 250
 3   Las Vegas, Nevada 89120
     (702) 471-7001
 4   (Fax) 446-0493
     Attorney for MICHAEL FEHLMAN
 5
 6                                UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,                       2:11-cr-00223-MMD -CWH

10                   Plaintiff,

11    vs.
                                                      UNOPPOSED MOTION TO CONDUCT
12    MICHAEL FEHLMAN,                                A PRE-PLEA PRESENTENCE
                                                      INVESTIGATION REPORT AND
13                   Defendant.
                                                      PROPOSED ORDER
14
            CERTIFICATION: THIS MOTION IS TIMELY FILED.
15
16          COMES NOW the defendant, MICHAEL FEHLMAN by and through his counsel,
17   MICHAEL P. KIMBRELL, ESQ., and hereby moves this Honorable Court for an order for Mr.
18
     Fehlman’s criminal history category to be calculated. Counsel for Mr. Fehlman believes defendant
19
     has no felony convictions but does have a record of misdemeanor convictions. Counsel has
20
21   communicated with Government counsel and authorization to represent they have no opposition to

22   this motion. Counsel for defendant therefore respectfully moves this Court for a Pre-Plea
23   Presentence Investigation Report to be prepared by the United States Department of Parole and
24
     Probation.                                  DATED this 28th day of July, 2012.
25
26                                       Respectfully submitted,
27                                       /s/ Michael P. Kimbrell
            .                            MICHAEL P. KIMBRELL, ESQ.
28                                       Counsel for Michael Fehlman
 Case 2:11-cr-00223-JAD-CWH          Document 100      Filed 07/30/12     Page 2 of 3



 1                         UNITED STATES DISTRICT COURT
 2                                  DISTRICT OF NEVADA
 3
 4
 5   UNITED STATES OF AMERICA, )                      2:11-cr-00223-MMD -CWH
                                    )
 6                 Plaintiff,       )
                                    )                        ORDER
 7         vs.                      )
                                    )
 8   MICHAEL FEHLMAN,               )
                                    )
 9   _____________Defendant.________)
10
           IT IS HEREBY ORDERED that the United States Department of Parole and Probation will
11
     prepare a Pre-Plea Pre-Sentence Investigation Report on Defendant Michael Fehlman.
12                       30th           July
           DATED this _______day of _____________, 2012.
13
14
                                               _______________________________
15
                                               UNITED STATES DISTRICT JUDGE
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 Case
  Case2:11-cr-00223-JAD-CWH
       2:11-cr-00223-MMD -CWH Document
                               Document100
                                        99                 Filed 07/28/12
                                                           Filed 07/30/12 Page
                                                                           Page33ofof33



 1                  CERTIFICATE OF ELECTRONIC SERVICE
 2
     The undersigned hereby certifies that I am an employee of Michael P. Kimbrell, LTD, and is a
 3
 4   person of such age and discretion as to be competent to serve papers. That on July 28, 2012, I

 5   served an electronic copy of the above and foregoing UNOPPOSED MOTION TO CONDUCT
 6
     A PRE-PLEA PRESENTENCE INVESTIGATION REPORT AND PROPOSED ORDER by
 7
     electronic service (ECF) to the person(s) named below:
 8
 9  DANIEL G. BOGDEN
    United States Attorney
10
    333 Las Vegas Blvd. South, #5000
11 Las Vegas, NV 89101
    Counsel for United States
12
   KIMBERLY FRAYN
13
   Assistant United States Attorney
14 333 Las Vegas Blvd. South, #5000
   Las Vegas, NV 89101
15 Counsel for United States
16
17                                                       /s/ Michael P. Kimbrell, Esq.
                                                         Employee of Michael P. Kimbrell, LTD
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